Frank I. Hall .. +)Q40805
A.x.c@.T.

(633 Cldtand Fill Rd.

Taylors vilLé N.C. 2881

FILER
CHARLOTTE, NC

FEB 2 1 2023

IN THE UNITED STATES DISTAICT COUR WESTERN DISTRIO ee NC

FoR THE DisTRicT OF NorTA CAROLINA

 

 

FRANK Z. WALL ; case. No: 92 23-cev-\0l- MA
Piainti fe > Gwik RIGHTS ComPLAINT & 1983
g Trial bY Qury Demand.
>
Vv. ?
?
>
WADESBDPO PoLI@e DEPART-
MENT. AnSdal CouUNTY Police
DEPARTMENT. (And several ?
Unnamed afficers ak the Time ?
Invalvéd in the sheotinG@.) Suen g
in their inelividual and official ‘
GaPacihies . y
Defendants g
Comes Wow. Frank. ©. Hatt te| ORS Plante usho Presents the. fallen
Cwmil-rGht's cGomPiant and clam for camPensatory . Declaratory, ard indunctwe relief
a3 follows.

(. tthe Plant intreduce this Cwil- action Pacina before the Court a laasurk involving

Wadesboro Police DePart ment .and the Angen County Police DePartment: A state Net work
emPloyed by the STATE OF NORTH CARDLINA BENEVOLENT Associ ATion,

Ths ComPlaint 14 issued into Federal Cosrts for a laweaut against Wadesboro Police-
TePatment and Anson County Police DePartment. (ancl several unnamed officers at the

time in velved in the sheotina. FOr cwil RiGhts ConPlaint and Trial by dury demand,

GINIL RIGHTS COMPLAINT (4 1983) Paae L of 12

Case 3:23-cv-00106-MR Document1 Filed 02/21/23 Page 1 of 13
Ths comPlamk alledes that Plaintiffs tfe vwoas Placed in daneer bY Several unnamed

officers at the time of ths Alina ef Wades bere Police DePartment and Anson Count
folice Derartment.

Dee ndands: Several unnamed officers involved in the Shectina of Plank cf wades-
core tohCe DePart ment, aml Anson County Police De?artment ak all tTrw@s thrareh ait this

Comlaint sill b2 addressed as. Def, donamed officers involved in the Shaotin® of Plan-

tfP."at all times relevant to this action was/is emPloved as officers Charaed with the
duty and care. te serve. and Prateck awlians as well a3 Panhf . i

PLAINTIFF 3

Al, FRANK L. HALL # (CPlainhf? “) 1a Presently Servin@® a Criminal Sentence in the Custed? ef

the. North Carolind DePartmeant af Adult Covractions. At al times NG@DAC relevant to Mrs

action. Plaintiff was housed ak A.x.c.t. 633 oldland fill road. Tayiersville .N.e. 2868.
where he. Currently resides,

5. DEFENDANTS: Several Unnamed officers involved in the shastne of Plainh (officers ak

uadesbore Pelice DePartrent and Anson Counly Police DePart ment) at all times relevant

fe this action, was/ia contracted by the state of North Carolina. Benevoient Aagoc -

vation acted uncler Color of state. lau. Several unnamed officers invelved in he

Shooting of Plaintiff? . are hereby sued in their individual ag well as official

CaPacihes. Jointly and Severaliy for thom acte and amisSions clescmbed
fully betouw.

(Wt. furisdiea TION AnD VENUE

w duniadiction 19 asserted Pursuant te the Umbed States Gonshtution ad 42 U.$.c.

§ 1483. To redress the de?ravation of thos riaht’s Secured by the Umted States Constitution,

cle?rwed by Persons actinG under color cf state law. The Court has durnsdichon over these
matters Pursuant te 28. u.8.c. $3 1331. 1343.

Cimil-AGHTS CoMPLAINT C3 (983) Pace Zef 12

Case 3:23-cv-00106-MR Document1 Filed 02/21/23 Page 2 of 13
7. Plaintiffs clams for indunetwe rehef is authorized Pursuant to 28. u.3.¢.
8 ibSt.

8, The Unted States District Court, for the District of North Carolina in the Count
Of Alexander. City of Taylorsville 1% the ap?mPrate venue for tral Pursuant to 28

U.9.¢. 31341 Cb) (2): The County of! Anson 14 ishere the events CemPlained cf

have occurred,

IW. PRevious LAw3ulls

 

9. Piainthfe haa filed nc cil surt” re@ardin® any of the issues in ths comPiants.

V. STATE MENT OF FAcTs_

10. Piaink(f suffered one cf several induries on May 2lo- 2020. Plant suffered

gevere trauma from. mulhPle bullet wovnds 4p the. tovsc ; teas, face and back

Cushere. Piainhiff was 1avinG facedasn in the. Parkina lot where additrenal bullebs were
Quatained by the Pianhft Prom the DeRernts. Unnamecl officers involved in the shooling
ef Piamtf? at ali times in this action). in th. back and buttock faralyzinG@ Piawh¥

SurrenderinG .LeavinG Plainhf? a ParaPleaic fie the rest of Plaintife's hfe.

After

tt. PiainkiFP usas on the Niaht of Mav 2b 2@20. was, at the Anson ‘Lnn. where he had
itech hiked a tide from a woman drwine a white Ata alite mebile where he reavested

to be droPed off. There ulere also 2 additonal male PassenGes sho were sitine in the
Front nobt Passen@ér Seak. the other behind te deer,

2. Planhl€ reauested thal the ctrver take hin bo ReckinGham when a crurser (Police)
Pallecl behind and turnecl an ins overhead WWahts and Peaan te Pursue the vehicle.

13. Tue other Passencers in tHe Vehicle told the drwer fo Pull off ar they were Gane to
Gek ouk the the Vehicle and shoot the co? before baeKuP arrived.

4. This order \ed the Ariver bo lead the Police on a hich SPeed chase which ak this tyme
the. Planht? discavera the dutemabtle he cauahb a htchhwed nde in was Stolen.

Civil.- RIGATS COMPLAINT (81983) 3 of |
Case 3:23-cv-00106-MR Document1 Filed 02/21/23 Page’ 3 of 13
15 While in fursuit & the whte Kia. bY iNadesieges — are Anisen. Caumty eae.

The Female drwer of the white Kia wrecked the autemobile by hitting 2

Polelnear Myrtle wood aPart ments Zarhine (ot,

Ie. After the aditorobile was urecked, Too Paasenaers Pied the scene as
weil as the Plamntl€ oub of fear of bene tneriminated wrth the rest of

the Passencers in the vehicle: Whom wWenk in different directions,

(Z. Plaintif€ ran inte the nemahborheed Where he. van inte Several other officers

from the Wadesboro Police DePartment And Anson CountY Shenfls DePartment.

1g _wadesbora and Anson County Police and ShenfPs sans Piaintiff usith a wean
while Fleeing when he ran into the offiers whe PrePared to discharae ther dearons
on the. Plainhff,

4. Shen Plant fled from the officers vsho became Defendants unnamed officers
involved un the. Shooting cf Plantif ak all times in Wns achen discharaed their
weaPoens ishile Plan hf lect which cadse the Plamkif€ cut at fear +o haat back

discharaine his wWeaPan.

2D As a result the Plaintiff was struck in the terse and (leas . Plaintiff Phoned ts
Nadira Smith and informed her thatthe Plainhff loved them and belrevecl he was
Gomme to die. as Plaintif® beleval this as the day after the death of Georee
FLo¥d and The Defendants. unnamed officers invelvecl in the Sheotina of Plant. ff

at all times on this achon. were infact Gone to Kal him.

a, The Plantiff hune GP tus Phone and thrend the. wWearon under a Vehicle in the
Parkina tot and Tred as besk he could to Vell cut he surrendered throuch the 7ain of
hern@ Shot in the Pace. The Plaintiff Laved on las stemach and Placed ins Fingers
interlocked (vader. hig hex.

Crnil- HERR VPAPWOPLEG IMR Document 1 Filed 02/21/2&.PageK of213
2. while laying in a Position of Surrender, nob resistna or Presumeck a Vheeak
itl his Mandginkront ofa head . bhen the Defendants . unnamed officers involved
in Ye Sheotine ef Plaint(® at all hmeg in this action aPProached “The Plaintiff
Stated -* | Gwe UP, | Surrender ot Cant breathe. The Defendants. unnamed
officers involved inthe shosting of Plantifé at all times chscharaed their weafons

Severa\ hmes inte the Plainkiffs baek and aca inte the buttock avea Paral¥zine

Pianhlf Prom the waist cleun rendering Plantlf a ParaPleate for the rest of

his life “This incident fawsik Place arovne WAS ?.m,

Piamtiff sustained multiPie tndurneS as a resullb Fem several unnamed officers
' Broken left Fibra,

23.
al the time. involved in. the shsoting& of the PlaintPF, gueh were
Broken nG@ht femur, Broken LePt mancduhie,

At the time Plaintiff had surrenderel with ws arms braced aaainst bis head. while

24,
Lay fiat on Plaintiffs atamach with no wearen, several unnamed officers at the
time mvetvecl inthe shoatina af the Planhifé ~ at all times relevanE diselhareaed ther
Bre arma ab foink-blank range atandine over Piainhfé (2)-Tiso bullets ints the

?iainhiffs back andC4y ene bullet in Plainhffs riaht buttock.
One Bullet sas remeved Prom Plaintifhs four-teenth CA)- and Feith -Teenth- (15)

25
verterbrae
2. Plandiff vsaa aleo shot in the left das severina Plamfiffs tenaue bY several
Unnamed officers ab th. time involved in the Shastina of the Plaintiff- at all

times relevant.
21. Piainhff was taken to Wadesboro Hostital in Wadesboro North Carolina
kere Planblf was air btted te GMC Trauma Facility wn Charlotte,
North Caralina Where CMC Medical ataff labored around the. clock te

save Plants tife .
Pianh had to have mulhrle Suraenes- Plastic Sureery » Plaintiffs tonaue

28
Sewed back on, eXterier Sereus to hold the left Jaw bone in Place A red Placed
mm the tefk lea Sor loroken tibia, Red in ria@ht thelh due te broken femur and

emerGency SPinal SurGery Gaused bY damage donee by several unnamed officers

CiviL- RIGHT SCGaR PEAS THE OGFBE-MR Document 1 Filed 02/21/34" Pagé 5 4 13
ab the tive imvol ved in the shatind of Zlaintifl- felevant at all times cischaraine

thar fire arms inte Plainhffs back after Plaintifl surrendered “nad no weaPon an¥ lonGer
also no lonaer a threat

24. CMC. Trauma Unth 7hY¥Sic1an Dr Kim Placecl a screns and a Plate te hold PianhCs
SPine wPiace.
So. The. result. Prom the above menhoned indunes. Plaintiff suffers severe nerve.

damage. . Planttf ean no leneer walk a3 a resull of indunes suffered when

Piainht? had submitted and uiaS oo lender a threab.

St: Plainhh 14 nous a Para Paleaic, Was under Gone duraery usheve Tlantiff now has
ke Wear a Colostemy ba@. A Trachectomy te hel? Viainhft breathe. also multPie

bled transfusions due tw extreme bleed 1038 and over exrcesswe. bullets ledaed into
Plaintifls body,
32 Plaintiff endures severe Pan. Consistine alon@ usith unCentroilable muscle SPasms.

a3 ule ak Central Tran under a doctors care. PlainhfP? Was subseribed and

treated wath Oxveedone, GaviPentant, and neuroten for the Severe. Pain and musde
and newe damaee,

Ba, Wan bein transferred to A.x.0.1 4487 Plankiff has been switched te
hab 15 called Methacarbonal an amibryetilene. which dees not hel? nec abate
the. Severe. Tain the Plaintiff endures on a daly bass.

Vi Exhaustion OF ApminiSTRATivE REMEDY

Mah v. D.G.9 STA F, Ad 781 CDC. Gir, 2009 CP riserers cannot be exPected
ts echaust administratwe. remedies that do not exists PLRA ina?7iicabled,

ANW-RIGRTS ConPlLAINT (3 i987) Pace & of 12

Case 3:23-cv-00106-MR Document1 Filed 02/21/23 Page 6 of 13
Vil CAUSE OF ACTION
Plante incortrates by ceference the alleaatiens in all Proceding ParaaraPhs

as iC fully Set forth herein.
fursuank to the EiGhth Amendment of the U.3. Gonstitution . Plainki(f was

entitled ts be Free from excess we Pree,

Piamtiff faced Series Medical needs because of his cendiena after excesswe
Povce was used that left Plainh@ ParaPaleaia; Permanent use of a Colostem
baa. a broken tibia, broken Cemur. Plastic Sureery, braken mands bie. » Serews

in Faintiffs afine = Saus + rods in lea, and Thieh whch Plaintiffs aondrhon
sranificant\y affects daly activities ushich Plant exPerrences chreme and dub-

Stantral Pain,
Defendants. several unnamed officers at the time invelved w the sheohne
of the Planhel revelant at all bmes was asare thak Planhftt Wad surrendered

dhen Planhfl discarded wedPon. taved down Pace downen the Tae ment sith
Kia hands interlockuin@ at his Face) wauld reavie Serious medical attention
after bem@ Shot in the back mulhPle tes ard buttock wemle surrendering

Pianhl Paced excesswe. Pree. + cruel and unusual Punishment ard serious

risk of Patal tnduries Sustained olile in a Posthon of Surrender. Pace dasn
inard iunterlockecl Gn ‘Face’ while banG shot G)psé franGe Several times
in He back and boulfecks asiule unarmed.

Defendants. several unnamed cficers At the time invelvecdd inthe shooting of te
Plainhff relevank all ail hymeS was aware at all tes discarG@inG ther wearen/
Pve arms while Plant? was in a Stance @ surrender would formailY mse

A Pumdhmenk ef Gruel and unusual unnecessarY and wanton infliction
of Pain and Possibly death that mwas malicious and uncalled for total without

aluatibication » and Gresst¥ aut ol ProPortten .

Aaa 7 of 12

CowiL- RiGHTS COMPLAINT C8 1983)
Case 3:23-cv-00106-MR Document1 Filed 02/21/23 Page 7 of 13
Defendants, several unnamed officers at the hme involved in the Sheoting
c£ Plain fl at aithmen relevank were aware & a cisk te be held liable i by
by daetinG worth deliberate ind (erence when Plaintiff tas on the Groonel
face down Lotih fnGers interleckect ab Piaintfs Facet PleadinG |i Gwe
ue, | surrender’ -esecuted Crucl and unusual Punishmenk by dischareinG
ther wWeaPons ints an unarmed Planhff meets eseausite harm neected

to satisfy the obdectwe test for Biahth Amendment Violahen toe held

Wable. of riak that és obvieus that 4a teasonallle Police of€icer would
Nawe been aware of it.

A \nable Exahth Amendment Claim 19 Shaon when Peclice officials
Dale te tave newssary Protectwe sters because Plank lf had a Wearon
tren after being Shok several times discarded the weaPon, lasted face

Aosn an the Cuosnd uth finGers inter lockine at the\Facei ant no longer
rePresentecl a threak te officers nor the Public.

A el) berate indiflerence.” standard a??iies te Plaintiffs claims

that Conditions of aurrenderinG® and discard in® the WeaPon while. several
Police. officers Sh discharGed Ther wWearens print blank ranee inte

Piantiffs back and buttocks where a docter an Show inter and ext
af the ndories amount ta Cuel and unusdal funishment.

Plant ia well within reason te bnn@ a suct for aseol exeestwe Pree
euder the Eiadth Amendmant.

shesting the unarmed Plantifl causing Surmeunhable mJarlies edusins

Piainhff te be left ParaPaleaic after bemG@ shot oshile Pacedasn as
Panishment held violahon of Liahth Amendment , Petice officers are.

net entitled ta dAualfied Innmunity from Glam Psr damaGes ender
91983.

Cail RIGHTS CamPlAiImT (81989) face 8 of 12

Case 3:23-cv-00106-MR Document1 Filed 02/21/23 Page 8 of 13
Deliberate indi flerence may be. inferred from fact that risk «f harm
Lsas obvious.

Plan tel alieaes Viable Ga@hth Amendment clam hen several unnamed

officers at the time involved in the Sheatind of Plainhfl at alt tmes relevant
discharae. ther weaPon into Plainhfe while laying Pace deusn cath hands
interlocked ak the | face’ while\ Pleadinai ” 1Gwe oP. bgurrender” whe

observing at the time PlaintvPe discarded weafon, but wae stil shot several
mes shasad Such actions as Grue) and unusual tunishmenk.

Befendants. Several officers unnamed officers at the time. invotved in The ste }ing
of Plantife at all times relevant, Plamtiff alleGes Viable. Ex@hth Amendmendt claim
when official Ped even when Plainkif? was CooPeratin@ and shased no siGns of
bene Combative and actions of afficers h-ther oS Unwarcanted ard wahcieus.

Planhf ben@ Shot affer Plainkiff is NO! tonaer resistina , Ko longer hasa
wWeaton 14 a Violation of Eaahth Amendment.

Planhitl ar? coach and Shot after acs lonéer in PosesSion of a wedPan isa

4 bth Amend ment. Viclatlon because. the level of free by officers was
‘Ae lonGer dustiPied.

Defewdants several unnamed officers at the time. invelved m the SheetinG of the.
Plantilf had a duly to exercise reasonably Prudent safely measures to
the. Plaintiff, they the dePendants Ruled , thecfore that duty owed te he

lant was breachedy @ausinG PlainhE to sustain inlury and unwanton
fain and Pauchclocaucal Mtress.

Aut for Defendents acts and omigsSions Plante udeuld not have. been Sublected
and hauine te lwe in ProlonGed Physical Pain and the. resulting Permanent induries.

The. actions ancl anatasions of defendanta were undertaken voith dehberate_
indiflerence. bb the rahts of Plainhfl and were obdectwelY unreaacnable-

Cail RIGHTS Bears LATUT” (2 PR MR Document 1. Filed 02/21/83. .PAage @ of 13
Phaintiff suffers indury that is infact connected to the conduct the defendants
disPiaved hely ef redress by a cudhetal deaision . Ludan - 604 d.8, ab BLD -.b),

Plaintiff suffers ‘an mnvasien of a leaaly Protected interest’ thak 1s ‘e@onerete
and Particularized’ and ‘actual ar imminent. SPokeo dnc, V. Robins . 978 U3. —1 —>

Ils $.cb.15 40 1548, 194 Li€d. 2d 645 (20) “One dees not have te uWadt the con~

Sammatona of threatened! inlury ts obtain Preventiwe relief CQuotina lu Jan . 504
43. ak 5b0 ).

Plaintifl’s ComPlaink 1s Standmae” above, a controversy and is rife, for adducahen-
lZtemas 1 Anchorage Ebvoal RibhES . 220 Fi 3d 1134. 1138.39 (9h Gir Jeeo’,

Defendants White die (Gvia fale: Conduct was Terfetrated * Under é¢alor of stake. aus”.

Plant's comPiaint 15 evidence. sul mitted coith the ComPiaint ie sufPiaent to
establish stamina. CLodan af 540 r4)).

Planhfls ciwil nlury was caused by an exercise of authority Conberred or imrosed

by the State, andi dePendants acted aa dhate aaenks Lucar Vo B/morchson O1/ @.
AST. Lbv3. 922 F387 (1982),

Plantiff's Pacts ia “Rive? and have. develaPed eneuGh to allots the court te apply
ceasen and make a uselil dudament.

Defendants sheald be held liable Under $1983 when they misuse official
Poser » Power Fossessed by virtue of State lan made. Possible because the

defend ants are clothed uth the authorntY of State lars where actors were
wwulful Partrerfants indomk. actuitY voeth the stale or it’s acenks. theuch not

edactly officers of the gabe cCommittec! by Persons whe are authsrized te -

exercise state Au thevily.

Plaintiff's 31483 Provides 4 cause of action acainst those usho dePrive. Plaintiff of Pederany
Guranteed riahks while actne under calar cf atate las.

Cwil RIGHTS ComPLAINnT CG \4e3') Paae 16 of 12

Case 3:23-cv-00106-MR Document1 Filed 02/21/23 Page 10 of 13
VUN. PRAYER FoR RELIEF

where. fore. Piainthf resfeetfuiiv Pray’a that the Gourt enter an arcdler.

i4suinG declaratery rehef that the act's and emissians of the defendants

have violatecl Planhffs naht's. and Statna the defendant's duties isith
resPect te those rights.

L84uinG indunctive reliefs Gommandin@® the defendant's te (2) Pay an
Plainti€f's Hosp.tal bill's and medical treatment Pian.

Piantft imtbicitates the diseavery of documents dnd ather evidence within

the Control of Defendants thak musk be rewewed before any meaninaful caleulathion

of damages Such as: Al) Hospital Records, Police incident rePorts, Statements.”
Stencara?her’s refvorts, @xculfatory evidence, Dis Pakcher recerds Port, ete. Awsardine
Diam ComPensatory clamaces fir the unnecessary delerioratien of Physica) and

Psvcholaaical Condition, Gonseauenha) Pain ard sufberina in an amount Yet be be

decided Prom the evidence, bub ww ne circumstance usll the amount in dem ard be.
less than $§° 760.000.00”.

Peauest fora new trial for Plainhit? effective after decisien.

Attorneys fee's Zand for Plantff's cre?resentation and Court cost te defendants:
Aay ether tehef this court may deam dust and ProPer ;

by Jury 1s hereby demand en all Claim'e alleged here ini and the Parties

Given notice. Pursuant te Fed. R.Cw.? 38Ca) -Ce).
Res?ectfully Submitted This 6 day of Fedsvory, 2023.

Ov
SY.
Fran& 1. Wall +

Tr al

are Wereby

Civil- RIGHTS CoMPLAINTES 1983) Page tl of t2

Case 3:23-cv-00106-MR Document1 Filed 02/21/23 Page 11 of 13
1X VERIFICATION

Pursuant te 28 u.¢.c.3 i746 ¢. Feank |. Wali. declare and verify under
Penalty of Perdury the laws of the Umted States of America. That | have.
read the fare Got and that if 9 tue ard aorrect “ tothe best of my

Knowledae “ an belief.

Datecl This Le es ine
pa.
so Eb Male C BW a
x. 2

Sern and OR befie. me
, . )
AL
NOTARY FuUALIC

riage ots. Se eS

MY CoMMISS ION Cxfires

 

JULIE TUCKER : SEALY
Notary Public, North Carolina
' Catawba County
Commiépid ir

 

 

 

CIVIL- RIGHTS CANRLSWNT, (BEY MIR Document 1 Filed 02/24/88 'babd%2 of 13
FRANK TL. HALL H\QNOKNS

A.x.c, L #4870
(633 old band Fill Road
Tan lors villa N.C. 2#681

The Clerk af Court
Clerk Frank G. dabns

United States District Cosct.
Room 20 Charles A. Jonas Build ine
Abl West Trade Street

Charlotte NoRTH CAROLINA 28202

Feb (Gh . 2023

ClerKw Wr. dehns.

i am line mY ComPlaint inte Your office. Unfortunately this Pra lty
all nok Provide Prisoners with cPiecs)

fir Court. | am Ceauestina that
Yeu Provide me with a stamted Recewed” CoPy for mY ecards. alao“cc. toall “

ths necessary coPies te Deferndank PartyYcs).

“ThankYou .

A Baaat al — er
Fran& 2. tall +

Caner Letter hea ACL

Case 3:23-cv-00106-MR Document1 Filed 02/21/23 Page 13 of 13
